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 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                     __________         of of
                                                                 District  New  York
                                                                              __________
MICHAL KONOPKA and DRAGAN BOSOTINA, and on behalf of themselves
and all others similarly situated, PLUMBERS UNION LOCAL NO. 1 OF THE
UNITED ASSOCIATION OF JOURNEYMEN AND APPRENTICES OF THE )
  PLUMBING AND FITTING INDUSTRY OF THE UNITED STATES AND
    CANADA, TRUSTEES OF THE PLUMBERS LOCAL UNION NO. 1
                                                                     )
WELFARE FUND, TRADE EDUCATION FUND, and 401(k) SAVINGS PLAN, )
TRUSTEES OF THE UNITED ASSOCIATION NATIONAL PENSION FUND, )
       and TRUSTEES OF THE INTERNATIONAL TRAINING FUND,
                                                                      )
                             Plaintiff(s)
                                                                      )
                                 v.                                            Civil Action No. 25 Civ. 811 (RER)(CLP)
                                                                      )
  PACE PLUMBING CORP., PACE PLUMBING DELAWARE CORP.,                  )
      THE PACE COMPANIES NEW YORK, LLC, PACE FIELD
   SERVICES, LLC d/b/a PACE MECHANICAL, and EAGLESTONE,
                                                                      )
   LLC d/b/a EAGLESTONE NY, LLC, and ATERIAN INVESTMENT               )
   MANAGEMENT, LP d/b/a ATERIAN INVESTMENT PARTNERS,                  )
                            Defendant(s)                              )

                                                     SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) Pace Plumbing Corp., 41 Box Street, Brooklyn, New York 11222
                                            Pace Plumbing Delaware Corp., 41 Box Street, Brooklyn, New York 11222
                                            The Pace Companies New York, LLC, 41 Box Street, Brooklyn, New York 11222
                                            Pace Field Services LLC, 41 Box Street, Brooklyn, New York 11222
                                            Eaglestone, LLC, 551 5th Avenue, 9th Floor, New York, NY 10176
                                            Aterian Investment Management, LP, 1700 Broadway, 38th Fl., New York, NY 10019


           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are:
                                       -RKQ&3KLOR                         -DQH/DXHU%DUNHU            &KDUOHV59LUJLQLD,,,
  Troy L. Kessler                                                            3,77$//3                    9,5*,1,$ $0%,1'(5//3
                                       68*$5/$:&(17(5)25
  KESSLER MATURA, P.C.                 (&2120,& 62&,$/-867,&(            %URDGZD\WK)ORRU     %URDG6WUHHWWK)ORRU
  534 Broadhollow Road, Ste. 275       &DVV$YHQG)O               1HZ<RUN1<          1HZ<RUN1<
  Melville, New York 11747             'HWURLW0LFKLJDQ                                  
  (631) 499-9100                         
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                                  #3&//"#.")0/&:
                                                                                  CLERK OF COURT


 Date:           3/25/2025
                                                                                               Signature of Clerk or Deputy Clerk
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 Civil Action No. 25 Civ. 811 (RER)(CLP)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
